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                       UNITED STATES DISTRICT COURT
                     DISTRICT COURT OF MASSACHUSETTS


                                   )
UNITED STATES                      )
                                   )
v.                                 )          1:22-cr-10057-MLW
                                   )
MONICA CANNON-GRANT                )
                                   )

                ASSENTED-TO MOTION TO CONTINUE HEARING

     NOW COMES the Defendant, MONICA CANNON GRANT, in connection
with the above-captioned matter and respectfully requests that
the hearing scheduled for Friday July 7, 2023 be continued July
13, July 14, July 19 or July 21.           As grounds, counsel for the
Defendant is not available due to a family matter and death in
the family.     Counsel will be away until Sunday July 9th, and on
July 10th, counsel is scheduled for a 2011 drug trafficking trial
in Essex Superior Court that is marked a priority case by the
Court (Commonwealth v. Manuel Pena) before Judge Dunigan.                 The
Defendant is in custody, and the case if ready to go to trial.
Monica Cannon-Grant’s case is more recent and she is not in
custody.       The   Government    assents   to    this   request   for     a
continuance.
      WHEREFORE,     the   Defendant   respectfully   request    that   this
motion be ALLOWED.


                                   Respectfully submitted,
                                   MONICA CANNON GRANT,
                                   By her attorney,

                                   /s/ CLMALCOLM
                                   ________________________
                                   Christopher L. Malcolm
                                   BBO No.: 684440
                                   266 Willowgate rise
                                   Holliston, MA 01746
                                   617-645-0089
Date:   July 6, 2023               clmalcolm@gmail.com

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                        CERTIFICATE OF SERVICE

     I, Christopher L. Malcolm, Attorney for Defendant, hereby
certify that on this date I served a copy of this motion to
continue by email and electronic notice on the US Attorney’s
Office.


                                               /s/ CLMALCOLM
    Date:     7/6/23                    _________________________
                                         Christopher L. Malcolm




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